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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                                                              ORDER
            -against-
                                                           22 Cr. 19 (PGG)

WILLIAM WEINER and
ARTHUR BOGORAZ,

                         Defendants.


PAUL G. GARDEPHE, U.S.D.J.:

              Defendant William Weiner’s response to the Government’s motion to

compel supplemental expert disclosure and exclude particular opinions (Dkt. No. 309) is

due December 28, 2023.

              The Government’s response to Defendant Arthur Bogoraz’s motion to

adjourn the trial date (Dkt. No. 310) is also due December 28, 2023.

Dated: New York, New York
       December 26, 2023
                                            SO ORDERED.


                                            _________________________________
                                            Paul G. Gardephe
                                            United States District Judge
